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  March 4, 2021                                LA CV 20-2291-D0C
                                                                                       3/4/2021
  The Honorable David O. Carter
  United States District Court – Central District of California                             KD
  Ronald Reagan Federal Building and United States Courthouse
  411 West Fourth Street, Courtroom 9 D
  Santa Ana, CA, 92701-4516

  cc: Special Master Michele Martinez

  L.A. Alliance for Human Rights v. City of Los Angeles Brief – the Downtown Women’s Center

  Judge Carter:

  As a member of the Skid Row community for over 42 years, the nation’s first provider of permanent supportive
  housing for women, and the only organization exclusively dedicated to ending homelessness amongst women in Los
  Angeles, the Downtown Women’s Center (“DWC”) applauds the urgency this Court has brought to the moral and
  public health crisis that is houselessness in Los Angeles County, and in particular the unique challenges faced by
  women experiencing homelessness.

  Founded as an all-volunteer organization in 1978, DWC has and grown to meet the evolving needs of unhoused
  women in Los Angeles, and now serves over 5,000 women annually through a variety of programs – a drop-in Day
  Center that provides services to over 3,330 women; a kitchen that served 260,000 meals amidst the pandemic; a
  clinical case management program; the only health clinic in Skid Row exclusively for women; a workforce
  development program that matched 82 women with employment and proved over 1,100 vocational counseling
  sessions in 2020; a social enterprise, MADE by DWC, that supported 23 women with job training last year; 119 units
  of permanent supportive housing that boast a 99% retention rate for formerly unhoused women; one of the 15
  Trauma Recovery Centers in the state of California; and a Community Based Housing program that supports nearly
  500 women across Los Angeles, among other offerings. Even as we have hundreds of new permanent supportive
  housing units in the development pipeline in buildings that will expand DWC’s physical footprint in and beyond Skid
  Row and across the county, we know that more simply must be done.

  Over the past several years, DWC has watched as HUD and other federal agencies have diligently worked to
  address the challenges and needs of specific groups within the overall homeless population – specifically veterans,
  families, youth, and the chronically homeless. Through these efforts of “designating” subpopulations, we have seen
  that targeting resources to specific groups is much more effective in reducing homelessness than a "one-size-fits-all"
  approach, and that incidence of homelessness amongst these subpopulations are in fact lowered.

  Unfortunately, one group that has not been identified as a subpopulation of people experiencing homelessness is
  unaccompanied women – individuals who are not accompanied by children or dependents and who do not qualify for
  resources allocated for families. There remains a critical dearth of research on unaccompanied women, as Point in
  Time (“PIT”) statistics for unaccompanied adults were first disaggregated by gender in the 2015 Annual Homeless
  Assessment Report (“AHAR”).
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  What little has been learned in the past half-decade about unaccompanied women points to deeply troubling trends.
  Nationally, while the percentage of women within the overall unhoused population remains virtually unchanged –
  40% in 2015 compared to 39% in 2019 – the percentage of unaccompanied women experiencing homelessness has
  risen dramatically. According to the 2019 AHAR, 53% of all unhoused women are unaccompanied, compared to 45%
  in 2015, for a total of 115,635 women nationwide. Unaccompanied women now make up 29%, or roughly 1-in-3, of all
  unhoused individuals in America today. Per the 2019 AHAR, there are nearly 60% more unaccompanied women
  unhoused in this country than there are unaccompanied youth (35,038) and veterans (37,085) combined.

  The current federal definition of homelessness, and thus our current service provision model, is failing women, and in
  particular unaccompanied women. Programs and funding for families are unavailable to unaccompanied women, as
  they are not experiencing houselessness with their children. Many female veterans who become unhoused were
  “dishonorably discharged” as result of the sexual trauma and gender-based violence they were subjected to, and
  thus are ineligible for V.A. benefits. Additionally, female veterans, military spouses, or family members who are
  eligible for benefits often do not feel comfortable receiving healthcare services from the V.A., given its male-
  dominated culture. Unaccompanied women also consistently receive low VI-SPDAT or Coordinated Entry System
  (CES) Assessment scores – in part due to an overly narrow definition of trauma that disadvantages DV/IPV survivors
  – and thus do not receive priority for housing through systems aimed at reducing chronic homelessness. By
  continuing to not distinguish unaccompanied women as a distinct homelessness subpopulation, we continue to see
  insufficient funding and inadequate programs directed towards effectively addressing their unique needs.

  Nowhere are the gendered inequities of houselessness more apparent than in Los Angeles County. According to the
  2020 Greater Los Angeles Homeless Count, the number of women experiencing homelessness in the city increased
  by 25%, while countywide saw an increase of 15% in the last year. On any given night, more than 21,000 women are
  experiencing homelessness in Los Angeles.

  Since 2013, the number of women unhoused in the Los Angeles Continuum of Care (“CoC”) has more than doubled,
  outpacing the increase among men. On average, unhoused women have a lifespan that is nearly 35 years less than
  their housed counterparts, and per a 2019 Needs Assessment of unhoused women in the city of Los Angeles
  conducted by the Downtown Women’s Center, 3-in-5 have experienced an incident of trauma in the past year.

  In Los Angeles, women of color are also disproportionately affected by homelessness, reflecting the power of
  systemic racism in fueling the ongoing crisis. Black women constitute more than 30% of all unhoused women in Los
  Angeles, even as they make up less than 9% of the total female population. Particularly troubling, in a November
  2020 report released by the Hub for Urban Initiatives, 30% of the unhoused women who died on the streets of Los
  Angeles last year were Black women.

  Such starkly unequal outcomes for women are further exacerbated by the COVID-19 pandemic. Already earning less
  on average than men, with a disparity that grows more pronounced based on the color of one’s skin, women are
  overrepresented in some of the industries – including retail, hospitality, and education – hardest hit by the economic
  shutdown, and reports that Latinas and Black women are losing jobs at much higher rates. According to the Bureau
  of Labor Statistics, in September 2020 approximately 865,000 women dropped out of the labor force, a rate four
  times higher than men. Women are disproportionately bearing the brunt of childcare and education needs in the
  home, and these financial and personal strains are further compounded for single mothers, with the National Bureau
  for Economic Research estimating that 15 million single mothers will ultimately be “severely affected” by the
  economic downturn. With the looming wave of evictions, it is probable that women – and per the research of the
  Eviction Lab at Princeton University, Black women who are heads of households – will be disproportionately
  impacted, which will only fuel the surge of women’s homelessness.
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  For years, DWC has been fighting for greater awareness, recognition, and support for unaccompanied women. Due
  to DWC’s advocacy, in 2020 both the City and County of Los Angeles passed motions recognizing the unique needs
  of unaccompanied women experiencing homelessness. Resulting from these efforts, the Los Angeles Homeless
  Services Authority (“LAHSA”) has been compelled to produce data on unaccompanied women.

  The statistics, gleaned from the 2020 Greater Los Angeles Homeless Count, are frankly jaw-dropping. Of the 20,671
  women who were unhoused in Los Angeles CoC as of January 2020, 65% were experiencing homelessness
  unaccompanied, for a total of 13,478 women. 80% of all unaccompanied women are unsheltered and 50% are
  chronically unhoused, percentages far outpacing both the overall male and female unhoused populations.

  Of the 7,503 unhoused women who reported experiencing domestic or intimate partner violence in 2020, 86% are
  unaccompanied women, while 93% of all unhoused women reporting a serious mental illness are unaccompanied
  and 95% of unhoused women with disabilities were unaccompanied. According to LAHSA, 99% of all women 55+
  who are experiencing homelessness in Los Angeles are doing so unaccompanied, and 99% of women reporting a
  substance use disorder are also unaccompanied.

  These numbers should serve as an urgent and immediate call to action for policy makers, service providers, and
  community members alike. Even before the existence of such jarring data, DWC has been calling for a FEMA-like
  response to address the burgeoning crisis that is women’s homelessness in Los Angeles. That is why DWC firmly
  supports this Court’s insistence on immediate action.

  To that end, based on our 42-year track record of uplifting women out of homelessness and on a road to personal
  stability, DWC recommends the following actions:

      •   A mandated, permanent expansion of non-congregant beds dedicated to DV / IPV survivors and
          their families: Project Safe Haven, the city of Los Angeles’s program to support survivors during the
          COVID-19 pandemic, more than tripled the city’s number of available DV beds. There is a clearly
          established nexus between domestic violence and homelessness, and compelling resources to address the
          needs of survivors and their families will make an extraordinary impact on reducing women’s homelessness.
          Additionally, expanding Project Roomkey is critical to ensuring the health and safety of all through the
          duration of the COVID-19 pandemic.
      •   Full investment in Supportive Housing, including units made possible through Prop HHH and
          Project Roomkey / Homekey: As the only service provider in Los Angeles exclusively serving women in
          Supportive Housing, DWC is expanding into 245 more new units while supporting the field to learn how to
          implement best practices in these housing settings. In partnership with the National Alliance for Safe
          Housing, DWC recently released a toolkit for designing permanent supportive housing for DV survivors.
          More Supportive Housing is needed for the most vulnerable unhoused in Los Angeles. Supportive Housing
          works with a long track record of decreasing public costs to housing people, boasting extremely high
          retention rates, and having no negative effect on surrounding home prices.
      •   An extension and expansion of culturally competent Rapid Rehousing programs addressing the
          needs of unhoused Black women, such as Project 100: Launched in collaboration between the office of
          Mayor Garcetti, Enterprise Community Housing, and DWC, Project 100 is providing housing and wrap
          around services aimed at women who have experienced chronic homelessness in Skid Row.
      •   Streamline City department infrastructure to increase speed in housing approval and service
          delivery: The City Council should delegate its authority to the Housing and Community Investment
          Department (HCID) for the approval of funding commitments for standard affordable housing projects, with
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           HCID staff empowered to review and make decisions on affordable housing developments when the City
           investment is $20 million or less; this funding level should increase over time, such as 10% per year. Cities
           like Santa Monica and West Hollywood already have delegated their authority to their housing and planning
           departments when it comes to approving affordable housing developments. Furthermore, the City Council
           should eliminate site plan review for projects that are 100% affordable housing. The City should also raise
           the housing unit threshold that triggers site plan review to 100 units for projects that are at least 50%
           affordable, and affordable housing should have a by-right entitlement process that can be approved over the
           counter by Planning as long as the projects meet certain conditions. The city of Los Angeles should also
           create an Affordable Housing Division within Los Angeles City Planning that would be dedicated solely to
           processing entitlements and environmental approvals for affordable housing projects.
      •    Sustained support for Measure H and Measure J: Over the past five years L.A. County voters have
           approved both billions in new tax dollars and a mandated reallocation of pre-existing county dollars to be
           spent toward supportive services and direct community investments to uplift the most vulnerable populations
           in Los Angeles. Since its inception in 2017, Measure H has provided services to thousands of Angelenos,
           and permanently housing over 26,000 individuals. The positive results of Measure H should continue to be
           widely shared in order to build sustained community support for the renewal and permanent extension of the
           sales tax upon its expiration in 2027.
      •    An unprecedented regional investment in hygiene infrastructure: Over 1-in-3 of women interviewed in
           the 2019 City of Los Angeles Women’s Needs Assessment indicated it was “always” difficult to find a safe
           and clean restroom and shower. Access to basic hygiene was also listed as a barrier to employment for
           36% of women. Restrooms at public buildings should be re-opened for use by unhoused individuals, and
           with assistance from state officials and FEMA, mobile hygiene centers should be deployed across the
           county.
      •    Support for Workforce Development for women: Facing long-term impacts of a recession that will most
           negatively impact women of color, the city and county should provide full support for the successful LA:RISE
           program and ensure that homeless services that operate Rapid Rehousing programs have the financial
           means to pair housing with services helping individuals find employment.
      •    Support for SB 57 and the legalization of overdose prevention programs: According to the January
           2021 L.A. County Department of Public Health report, “Recent Trends in Mortality Rates and Causes of
           Death Among People Experiencing Homelessness in Los Angeles County,” 29.9% of all deaths among
           unhoused women between 2017-2020 were a result of accidental overdose, a percentage higher than that
           of men. The city and county must continue to treat substance abuse not as a crime involving law
           enforcement and the justice system, but as a disorder that requires medical attention. Should SB 57
           (Wiener) pass, the city and the county most aggressively pursue the opening of overdose prevention
           centers and include gender-specific facilities, particularly in Skid Row.
      •    Enhanced data collection and analysis on unaccompanied women: The City, County, and LAHSA must
           continue to develop robust, public-facing dashboards and data sets that will help examine the root causes of
           homelessness for unaccompanied women as well as the continuing barriers to housing and services. A
           greater understanding of both the subpopulation’s specific needs and the gaps in the current service
           provision model will allow local policymakers to deliver improved outcomes for unaccompanied women.

  Finally, while prompt measures must be taken, central to DWC’s mission is the unyielding belief that only by investing
  in permanent housing solutions can we ever hope to ultimately eradicate homelessness. The Downtown Women’s
  Center stands firmly in advocating that the important and necessary short-term strategies we implement to address
  the crisis in Skid Row and across the county must not come at the expense of permanent housing.
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  Thank you, Judge Carter, for considering this brief. We look forward to continuing our work with this Court to end
  homelessness for women in Los Angeles.

  Sincerely,



  Amy Turk, LCSW
  Chief Executive Officer
  Downtown Women’s Center
